Case 8:23

The David Epstein Law Firm

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DAVID G. EPSTEIN (SBN 84356)
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Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

JOHN D. THOMAS, Case No. 8:23-cv-00236-DOC-JDE

Assigned for all purposes to:

Plaintiff,
vs. DECLARATION OF DAVID G.
EPSTEIN IN SUPPORT OF MOTION
LEAGLE, INC., a former Arkansas FOR ALTERNATIVE SERVICE

corporation; and DOES 1-25,
Date: April 17, 2023
Time: 8:30 am
Courtroom: 10A

Defendants.

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[, David G. Epstein, say:

1. lam a licensed California attorney and have been admitted to the bar of this
court. I make this declaration in my capacity as counsel for plaintiff in this case, in
support of a motion to authorize service of process on defendant Leagle, Inc., by
uploading the summons and complaint in the location solicited in said defendant's

website.

-1-

 

Declaration of David G. Epstein

 
The David Epstein Law Firm

Case 8:23

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2. Defendant Leagle, Inc. publishes information regarding litigation and
court decisions, and it appears that it makes money from lawyer advertising.
Leagle has a page on its website through which one may contact it. Given its
business model, it appears likely that such contacts are likely to be attended to. A
true copy of the contacts page at www.leagle.com/contact-us, as opened on
March 24, 2023, is attached as Exhibit 1 and incorporated by this reference. A
search of Leagle, Inc.’s site did not disclose any physical or mailing address.

3. An Internet search suggested to me that Leagle, Inc. was an Arkansas
corporation. I went to the website of the Arkansas Secretary of State and searched
for the entity. It came up as having its corporate status “revoked” but provided
an address for service of process. A true and correct copy of the listing as
accessed on March 24, 2023 is attached as Exhibit 2 and incorporated by this
reference.

4. The Arkansas Secretary of State listing gives the name of Komal Mustafa
as fulfilling various roles in the corporation, and lists no one else. A search on
beenverified.com identified two persons with that name, both in Texas and with
no stated Arkansas connections. I have no reason to know whether these two
individuals are in any way connected with Leagle, Inc. I searched the internet if
various ways, but was unable to identify a Komal Mustafa who was clearly
connected to the defendant, such that I would be confident that service on him
was good service on this entity.

5. I went to the “Whois” registry of Internet addresses, which usually
identifies who owns a particular domain name. In this case, the owner was listed
as Perfect Privacy, LLC, in Jacksonville, Florida. A true and correct printout of the

relevant page from the registry as contacted on March 24, 2023, is attached as

Exhibit 3 and incorporated by reference.

-2-

 

Declaration of David G. Epstein

 
The David Epstein Law Firm

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Case 8:24

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6. On March 24, 2023, I went to www-networksolutions.com / domains /
private-domain-registration. This site identifies itself as one which a person can
pay to have its ownership interest in a website disguised by using the
anonymizing services of Perfect Privacy, LLC. In other words, at Whois, the
owner is listed as Perfect Privacy, LLC, in order to disguise the identify of the
true owner. A true and correct copy of the relevant portions of this web page as
reviewed on March 24, 2023, is attached as Exhibit 4 and incorporated by this
reference.

7. This investigation suggests that Leagle, Inc. wishes to conceal its
ownership, address, and identity from contact by all means except the “contact
us” page on its website. Because it conducts business and claims corporate status,
its obscure address and identify information are unfair to persons who have
claims against it that they wish to assert. Although Leagle, Inc. is certainly
entitled to notice of claims against it and an opportunity to respond, it should not
be able to conduct public business on the World Wide Web, and at the same time
conceal its location and identity.

8. Accordingly, plaintiff respectfully asks this court to authorize electronic
service on Leagle, Inc through its web page “contact us” function.

9. If called as a witness, I could and would testify to the matters contained
herein, which I know of my own personal knowledge, except for those matters
stated upon information and belief, and as to them, I believe them to be true.

10. I declare under penalty of perjury under the laws of the state of
California that the foregoing is true and correct.

Executed At Laguna Beach, California, on March 24, 2023.

/5/ David G. Epstein
David G. Epstein, Declarant

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Declaration of David G. Epstein

 

 
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EXHIBIT 1
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Contact Us

Please Provide information About You
Name*
Email Address*
Your Comments*
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EXHIBIT 2
  

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Search Incorporations, Cooperatives, Banks and Insurance Companies

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This is only a oreliminary search and no Guars

until a confirmation has » been ecei ed from
Please review our

 

 

 
   
 

prior to searching fora new enti ity name.

LLC Member information is now confidential per Act 865 of 2007

Use your browser's back button to return to the Search Results

Begin New Search

For service of process contact the ©

Corporation Name
Fictitious Names
Filing #

Filing Type

Filed under Act
Status

Principal Address
Reg. Agent
Agent Address

Date Filed
Officers

Foreign Name
Foreign Address

State of Origin

 

LEAGLE INC.

811023198

For Profit Corporation

Dom Bus Corp; 958 of 1987
Revoked

RED DIAMOND BUSINESS CONSULTANTS LLC
609 SW 8TH STREET 6TH FLOOR

BENTONVILLE, AR 72712
10/19/2012

KOMAL MUSTAFA , Incorporator/Organizer
KOMAL MUSTAFA , Tax Preparer

KOMAL MUSTAFA , President

KOMAL MUSTAFA , Secretary

KOMAL MUSTAFA , Vice-President
KOMAL MUSTAFA , Treasurer

KOMAL MUSTAFA , Controller

N/A

N/A

 

 
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EXHIBIT 3
 

leagle.com

Domain Information
Domain: leagle.com
Registrar: Network Solutions, LLC
Registered On: . 1997-01-09
Expires On: 2026-01-08
Updated On: 2022-11-11
Status: clientTransferProhibited
Name Servers: ns37.worldnic.com

ns38.worldnic.com

 

 

Updated 11 days ago (%

Registrant Contact
Name: PERFECT PRIVACY, LLC
Street: 5335 Gate Parkway care of Network Solutions PO Box 459
City: Jacksonville
State: FL .
Postal Code: 32256
Country: . US
Phone: +1.5707088622

Email: ub7s827435t @networksolutionsprivateregistration.com

Administrative Contact

Name: PERFECT PRIVACY, LLC

Street: 5335 Gate Parkway care of Network Solutions PO Box 459
City: Jacksonville

State: FL

Postal Code: 32256

Country: US

Phone: +1.5707088622

Email: xb7s827%35t @networksolutionsprivateregistration.com

<G

xeagle.net

   

interested in similar domains?

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leagleproperties.com Buy Mow

 

lseagle.com

By

 

Sleagle.com

 

 

lseagle.net

 

 

On Sale!

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CO @ $14.88 $3488
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EXHIBIT 4

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Case 8:23-cv-00236-DOC-JDE Document 16-1 Filed 03/24/23 Page 11of12 Page ID #:51

 

network
solutions:

Powered by Web.com?

ains Website & eCommerce Hosting Security Email & Productivity Online Marketing 5 it e
ervices

 

Private Domain
Registration

Hide your personal information from spammers,
telemarketers, and bots

 

$9.99/year per domain name

 

Or search for a domain

 

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How does Private Registration work?
UNPROTECTED vs. PROTECTED

Without Private Registration
Steve Walker

swalker@softball.org

2801 NE 50th Street
Oklahoma City, OK 7311-7205
Phone: +1-555-985-4480
Your information is

 

exposed

With Private Registration
Perfect Privacy, LLC.

ad7536snryysi91 @perfectpriv
acy.com

5335 Gate Parkway
Jacksonville, FL 32256

Phone: +1-570-708-8780
Your information is

protected Haag

 
 
